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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

TERRY MONSKY, individually and on behalf
of all others similarly situated,

                     Plaintiff,

v.                                           Case No. 4:24-cv-01940
                                             (consolidated with Case No. 4:24-cv-
DIRECT DIGITAL HOLDINGS, INC.,               02567)
MARK WALKER, KEITH W. SMITH,
DIANA DIAZ, and DIRECT DIGITAL
MANAGEMENT, LLC,

                     Defendants.

     [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS
                PLAINTIFF’S CONSOLIDATED COMPLAINT

       The Court has considered Defendants’ Motion to Dismiss Plaintiff’s Consolidated

Complaint, any response or replies thereto, and any argument of counsel. IT IS HEREBY

ORDERED that Defendants’ Motion to Dismiss is GRANTED, and the Consolidated

Complaint is DISMISSED WITH PREJUDICE.

       SIGNED at Houston, Texas, this ____ day of ____________________, ________.

                                              _________________________________
                                              HON. KENNETH M. HOYT
                                              UNITED STATES DISTRICT JUDGE
